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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
)

v. ) Criminal No. 11-CR-10260-NMG
)
)

AARON SWARTZ

GOVERNMENT'S MOTION TO UNSEAL
INDICTMENT
The United States of America hereby moves this Court to direct that the indictment be

unsealed. In support of this motion, the government states that the defendant surrendered himself

this morning, and that there is no further reason to keep the indictment secret.

  

Respectfully submitted,

CARMEN M. ORTIZ
United States Attorney

 

Assistant U.S. Attorney

Date: July 19, 2011
